         Case 2:09-cv-01491-AKK Document 53 Filed 08/16/10 Page 1 of 2                 FILED
                                                                              2010 Aug-18 PM 04:20
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA



                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT FOR ALABAMA
                                  SOUTHERN DIVISION                \b P \:2.0
Albert J. Isaac, et 01                 }
                     Plaintiff{s)      )
                                       )
v                                      } Case No. CV-09-J-1491-S
                                       )
NCO Group, Inc., et 01                 )
    A Delaware Corporation             )
                  Defendant(s)         )


            NOTICE OF A POSSIBLE SEULEMENJ AND MOTION FOR A STAY

       COMES NOW, the Plaintiffs Albert J.lsaac and Rosetta W.lsaac, in the above

style and cause, give notice to the Court of a possible settlement between the

parties, as the Parties work out the agreement phase of the settlement. Moves the

Court to Stay a ORDER for sixity days, for the Plaintiff to respond to the Defense

motion to compel.



DATE: August 16, 2010                                   Respectfully Submitted



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                                                        Rosetta W. Isaac, Pro Se



                                                        Albert J.  ac, Pro Se
                                                              th
                                                        617 76 st  s
                                                        Birmingham, AL 35206
                                                        [205}836-3075
           Case 2:09-cv-01491-AKK Document 53 Filed 08/16/10 Page 2 of 2




                              CERTIFICATE OF SERVICE


I hereby certify that a copy of the foregoing has been served upon counsel for
Defendant(s) NCO Group, Inc. and I\lCO Financial Systems, Inc. the listed herein
below, United States Mail, properly addressed, postage pre-paid, thereto:


OF COUNSEL:
Lloyd, Gray, & Whitehead P.C., Attorneys at Law
Ms. Laura C. Nettles. Esq.
2501 20th Place South Suite 300
Birmingham, AL 35223




This the   day~of   August, 2010

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                                                       /~a.x'cc.()U
                                                        Rosetta W. Isaac, Pro Se
